 Case 3:14-cv-00885-SRU Document 134 Filed 05/13/19 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT

JAMES HARNAGE                              :        NO. 3:14-CV- 885(SRU)

             v.                                     :

JAMES DZURENDA, et al.                     :        MAY 13, 2019

      DEFENDANTS' MOTION FOR RELIEF FROM STANDING ORDER

      Pursuant to paragraph 4 (Objections) of this Court's Standing Order (ECF Doc.

#131) and the provisions of Rule 26(c) of the Federal Rules of Civil Procedure, the

defendants respectfully move for a protective order to relieve the defendants from the

unnecessary burdens, costs, expenses, and annoyances which are, in part, required

by the Standing Order     on Disclosure (ECF Doc. # 131). This Order requires the

significant expenditure of time and resources which are wholly unnecessary in light of

the defendants' affirmative defenses, inter alia, of 1) failure to exhaust administrative

remedies, and 2) qualified immunity. In addition, the plaintiff is no longer representing

himself as court appointed counsel, Attorney Frank Riccio II, has appeared, and the

parties have filed a joint Rule 26(f) report. (ECF Doc. #130). The defendants have filed

a large amount of materials, and have already supplied the plaintiff with such

disclosures and materials in connection with parallel state court proceedings, having

withstood years of discovery from plaintiff, in Harnage v. Schulman & Department of

Correction, J.D. of New London, No. CV-XX-XXXXXXX, 2018 WL 6446003, at *3 (Conn.

Nov. 15, 2018)(Handy, J.)(finding the plaintiff has failed to establish standing, and

granting the defendant's motion to dismiss), appeal dismissed A.C. 42473 (Ct. App. Ct.

Feb. 6, 2019).




                                           1
 Case 3:14-cv-00885-SRU Document 134 Filed 05/13/19 Page 2 of 2




      For the additional reasons set forth in the accompanying memorandum, this

motion for relief should be granted.


                                                 DEFENDANTS
                                                 James Dzurenda, at al.

                                                 WILLIAM TONG
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                                       CERTIFICATION

      I hereby certify that on May 13, 2019, a copy of foregoing was filed electronically.

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.




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                                             2
